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                            UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


GAVIN/SOLMONESE LLC,                                )
                                                    )
               Plaintiff,                           )       Case No. 16-CV-1086
       v.                                           )
                                                    )       Judge John R. Blakey
STEPHEN L. KUNKEL                                   )
                                                    )
               Defendant.                           )


       MOTION TO STRIKE THE WAETZMAN AND GAVIN DECLARATIONS


       Defendant Stephen L. Kunkel ("Kunkel") moves the Court for an order striking the

Declarations of Ted Gavin and Ross Waetzman (Dkt. Nos. 108 and 109, respectively) offered in

opposition to Kunkel's Motion for Summary Judgment. The Gavin and Waetzman Declarations

contain fraudulent statements contradicting their deposition testimony in an effort to manufacture

false issues of fact. Accordingly, and for the reasons set for in the Memorandum in Support of the

Motion to Strike submitted herewith, Kunkel objects to such testimony and moves the Court to

strike from the summary judgment record each of the assertions specified below:


Declaration of Ted Gavin (Contradictory Paragraphs):

       15.     In late December 2014, G/S learned of allegations that Kunkel had sexually
               harassed and spanked young male subordinates at Soo Tractor.

       16.     When confronted with allegations that Kunkel had sexually harassed and spanked
               young male subordinates at Soo Tractor, Kunkel denied these allegations.

       17.     Shortly after Kunkel denied these allegations of sexual harassment and spanking,
               G/S's counsel received a recording that Alex Peterson ("Peterson"), one of Kunkel's
               victim's, had made one of the incidents. G/S's counsel informed me of this
               recording.

       18.     On the morning of January 28, 2015, before receiving a letter from Soo Tractor
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               terminating G/S's services, I sent Mahaney an email informing him of the
               allegations regarding Kunkel


Declaration of Ross Waetzman (Contradictory Paragraph):

       6.      Kunkel did not disclose that he was a Board Member of the Tamarack Board.


       WHEREFORE, Kunkel requests that the Court grant his Motion to Strike for the reason

that the above-cited testimony is false, contradicts prior sworn deposition testimony and should be

stricken from the summary judgment record and not considered by the Court for any purpose as a

matter of law. Kunkel refers the Court to his Memorandum in Support of his Motion to Strike

filed contemporaneously with this motion.


DATED: August 22, 2018                                      Respectfully,

                                                            /s/ Michael Z. Gurland

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